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5    Attorney for Defendant SIAVASH POURSARTIP
6

7                   IN THE UNITED STATES DISTRICT COURT FOR THE
8                            EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                          Case No. 2:10-CR-305 LKK
10                        Plaintiff,                    STIPULATION AND ORDER FOR
                                                        CONTINUANCE OF INITIAL STATUS
11          v.                                          CONFERENCE
12   SIAVASH POURSARTIP, et. al.
13                        Defendants.                   DATE: APRIL 19, 2011
                                                        TIME: 9:15 AM
14                                                      Courtroom: Honorable Lawrence K.
                                                        Karlton
15

16
            It is hereby stipulated and agreed by and between the United States of America, on
17
     the one hand, and defendants, Siavash Poursartip, and Sara Shirazi, on the other hand,
18
     through their respective attorneys, that the initial status conference in the above-entitled
19
     matter set for Tuesday, April 19, 2011, shall be continued to Tuesday, June 1, 2011 at 9:15
20
     a.m.
21
            The parties further stipulate and agree that the time period from the date of this
22
     stipulation up to and including the new status conference date of June 1, 2011, shall be
23
     excluded from computation of the time for commencement of trial under the Speedy Trial
24
     Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv) and Local Codes T2 (unusual
25
     or complex case) and T4 (preparation by prosecution and defense counsel).
26
            The parties note that the indictment contains ten counts and a forfeiture allegation,
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     that the acts alleged in the indictment span from 2004 to 2009, and that defendant
28
                                                  -1-
     STIPULATION AND [PROPOSED] ORDER CONTINUING INITIAL STATUS CONFERENCE
       Case 2:10-cr-00305-MCE Document 35 Filed 04/18/11 Page 2 of 4


1    Poursartip’s prior counsel recently was appointed a Superior Court Judge and defendant

2    Poursartip has therefore retained new counsel who substituted into this case on November

3    30, 2010. There remains further investigation and research that the defendants are pursuing

4    and have been working diligently since before the indictment. Based upon these facts, the

5    parties stipulate and agree that it unreasonable to expect adequate preparation for pretrial

6    proceedings and trial itself within the time limits established in § 3161, the case is unusual or

7    complex within the meaning of the Speedy Trial Act, and the requested continuance is

8    necessary to serve the ends of justice and to provide both the prosecution and defense

9    counsel reasonable time necessary for effective preparation, taking into account the exercise

10   of due diligence. 18 U.S.C. § 3161(h)(7)(A) and (B)(ii) and (iv). Specifically, each defendant

11   agrees that his or her counsel needs additional time to review the discovery that has been

12   provided, to effectively evaluate the case and to prepare for trial. See id. Additionally, the

13   parties hereby stipulate that this case is unusual and complex such that it is unreasonable to

14   expect adequate preparation for pretrial proceedings or for a potential trial within the time

15   limits established by the Speedy Trial Act.

16          For the above reasons, the defendants, defense counsel and the government stipulate

17   and agree that the interests of justice served by granting this continuance outweigh the best

18   interests of the public and the defendants in a speedy trial. 18 U.S.C. § 3161(h)(7)(B)(ii),

19   [Local Code T2]; 18 U.S.C.§ 3161(h)(7)(B)(iv) [Local Code T4].

20

21
     Dated: April 15, 2011                         BENJAMIN B. WAGNER
22                                                 UNITED STATES ATTORNEY

23
                                                   By:/s/Russell L. Carlberg
24                                                       RUSSELL L. CARLBERG
                                                         Assistant U. S. Attorney
25                                                       (per email authorization)

26

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                                                    -2-
     STIPULATION AND [PROPOSED] ORDER CONTINUING INITIAL STATUS CONFERENCE
       Case 2:10-cr-00305-MCE Document 35 Filed 04/18/11 Page 3 of 4


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2    Dated: April 15, 2011                        /s/Christopher H. Wing
                                                     CHRISTOPHER H. WING
3                                                    Attorney for Defendant SARA SHIRAZI
                                                     (per email authorization)
4

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10
     Dated: April 15, 2011
11
                                                  /s/ Richard Pachter_________
12                                                    RICHARD PACHTER
                                                  Attorney for Defendant SIAVASH
13                                                POURSARTIP

14

15                                               ORDER
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                   The Court, having received, read and considered the stipulation of the parties,
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     and good cause appearing therein, adopts the stipulation of the parties in its entirety as its
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     order. Based upon the stipulation of the parties, the Court finds that it is unreasonable to
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     expect adequate preparation for pretrial proceedings and trial itself within the time limits
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     established in 18 U.S.C. § 3161 and that the case is unusual and complex within the
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     meaning of the Speedy Trial Act. The Court specifically finds that the ends of justice served
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     by granting of such continuance outweigh the interest of the public. The Court also finds
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     that the requested continuance is necessary to provide both the prosecution and the defense
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     counsel reasonable time necessary for effective preparation, taking into account the exercise
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     of due diligence. It is ordered that the time from the date of the parties’ stipulation to and
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     including June 1, 2011 shall be excluded from computation of time within which the trial of
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     this case must be commenced under the Speedy Trial Act,
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                                                    -3-
     STIPULATION AND [PROPOSED] ORDER CONTINUING INITIAL STATUS CONFERENCE
       Case 2:10-cr-00305-MCE Document 35 Filed 04/18/11 Page 4 of 4


1

2    pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B) (ii) and (iv) and Local Codes T2 (unusual and

3    complex case) and T4 (preparation by both prosecution and defense counsel.)

4                  It is further ordered that the initial status conference in the above-entitled

5    matter set for Tuesday April 19, 2011 shall be continued to June 1, 2011 at 9:15 am.

6                  It is so ordered.

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     Dated: April 18, 2011
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     STIPULATION AND [PROPOSED] ORDER CONTINUING INITIAL STATUS CONFERENCE
